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  6   Tel: (626)281-1232
      Fax: (626)281-2919
  7
  8   Counsel for Jinzheng Group (USA) LLC
      Debtor and Debtor-in-Possession
  9
 10                             UNITED STATES BANKRUPTCY COURT

 11             CENTRAL DISTRICT OF CALIFORNIA – LOS ANGELES DIVISION

 12
 13    In re                                                Case No. 2:21-bk-16674-ER

 14                                                         Chapter 11
       JINZHENG GROUP (USA) LLC
 15                                                         STIPULATION TO CONTINUE
 16                                                         HEARING DATES
                  Debtor and Debtor in Possession.
 17                                                         Current Hearing:
                                                            Date:        May 4, 2022
 18                                                         Time:        10:00am
                                                            Location:    Courtroom 1568
 19                                                                     255 E. Temple St.
 20                                                                      Los Angeles, CA 90012
                                                            Proposed Continued Hearing:
 21                                                         Date:        May 17, 2022
                                                            Time:        10:00am
 22                                                         Location:    Courtroom 1568
                                                                        255 E. Temple St.
 23
                                                                         Los Angeles, CA 90012
 24
 25
 26        The Parties, who are Jinzheng Group (USA) LLC (“Debtor”), Official Committee of

 27   Unsecured Creditors (“Committee”), and the United States Trustee (“UST”) by and through their

 28   respective attorneys, agree and stipulate to the following:


                                                        1
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  1                                                 Recitals
  2           Whereas, on January 25, 2022, the United States Trustee (“UST”) filed a notice
  3   appointing the Committee.
  4           Whereas, on February 8, 2022, Pachulski Stang Ziehl & Jones LLP filed an application for
  5   an Order Authorizing and Approving its Employment as Counsel for the Committee. (Docket
  6   entry 98).
  7           Whereas, on February 22, 2022, Debtor filed a notice of Objection and Request for hearing
  8   on the Employment application of Pachulski Stang Ziehl & Jones LLP, which was subsequently
  9   set for hearing on March 22, 2022 and currently set for hearing on May 4, 2022. (Docket entry
 10   125).
 11           Whereas on March 1, 2022, Debtor filed a Motion to Change Membership and Disband
 12   Official Committee of Unsecured Creditors pursuant to 11 USC §§ 1102(a)(4) and 105(a).
 13   (Docket entry 135).
 14           Whereas on March 1, 2022, Committee filed a Motion to for the Appointment of a Chapter
 15   11 Trustee, or in the Alternative Termination of Plan and Solicitation Exclusivities and
 16   Authorizing Standing of the Committee to Prosecute Actions against the Insiders of the Debtor.
 17   (Docket entry 136).
 18           Whereas on March 20, Debtor filed a its Second Motion for an Order Extending Debtors
 19   Exclusivity Period to file a Chapter 11 Plan and Solicit Acceptances thereto which was
 20   subsequently set for hearing on Mary 5, 2022. (Docket entry 169).
 21                                                Stipulation
 22           The Debtor, Committee and UST are in communication to resolve the pending Motions,
 23   and in order to avoid any unnecessary incursion of administrative fees stipulate and agree as
 24   follows:
 25      1.        The Hearing on the Motion to Disband the Committee shall be continued from May 4,
 26                2022, at 10:00am to May 17, 2022 at 10:00am. The opposition and rely deadlines shall
 27                be adjusted to confirm with regular deadlines based on continued hearing date.
 28      2.        The Hearing on the Motion to the Committee’s Motion to appoint a Trustee, etc. shall


                                                        2
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  1             be continued from May 4, 2022, to May 17, 2022 at 10:00am. The opposition and rely
  2             deadlines shall be adjusted to confirm with regular deadlines based on continued
  3             hearing date.
  4      3.     The Hearing on the Employment application of Pachulski Stang Ziehl & Jones LLP,
  5             currently set for hearing on May 4, 2022 shall be continued from May 4, 2022 to May
  6             17, 2022 at 10:00am. The opposition and rely deadlines shall be adjusted to confirm
  7             with regular deadlines based on continued hearing date.
  8      4.     The Hearing on Debtor’s filed Second Motion for an Order Extending Debtors
  9             Exclusivity Period to file a Chapter 11 Plan and Solicit Acceptances thereto which was
 10             subsequently set for hearing on Mary 5, 2022 shall be continued to May 17, 2022 at
 11             10:00am
 12
 13   SO, STIPULATED
 14   Dated: April 19, 2022                      SHIODA, LANGLEY & CHANG LLP
 15
                                                _/s/Christopher J. Langley_____
 16
                                                By: Christopher J. Langley
 17                                             Counsel for Debtor and Debtor in Possession

 18
      Dated: April 19, 2022                      PACHULSKI STANG ZIEHL & JONES LLP
 19
 20
                                                ___________________________________
 21                                             By: Robert Saunders
                                                [Proposed] Counsel to the Official Committee of
 22
                                                Unsecured Creditors
 23
 24
 25
 26
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  1                                      PROOF OF SERVICE OF DOCUMENT

  2   I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is: 4158 14th Street, Riverside, CA 92501
  3
      A true and correct copy of the foregoing document entitled (specify): STIPULATION TO CONTINUE
  4   HEARING DATES will be served or was served (a) on the judge in chambers in the form and manner
      required by LBR 5005-2(d); and (b) in the manner stated below:
  5
      1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
  6   controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
      hyperlink to the document. On (date) April 19, 2022, I checked the CM/ECF docket for this bankruptcy case
  7   or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List to
      receive NEF transmission at the email addresses stated below:
  8
          Donna C Bullock donnabullockcarrera@yahoo.com, donna.bullock@ymail.com
  9       Steven P Chang heidi@spclawoffice.com,
          schang@spclawoffice.com,assistant1@spclawoffice.com,attorney@spclawoffice.com;g9806@notify.ci
          ncompass.com;changsr75251@notify.bestcase.com
 10
          Michael F Chekian mike@cheklaw.com, chekianmr84018@notify.bestcase.com
          Susan Titus Collins scollins@counsel.lacounty.gov
 11       Jeffrey W Dulberg jdulberg@pszjlaw.com
          Oscar Estrada oestrada@ttc.lacounty.gov
 12       Richard Girgado rgirgado@counsel.lacounty.gov
          M. Jonathan Hayes jhayes@rhmfirm.com,
 13       roksana@rhmfirm.com;matt@rhmfirm.com;rosario@rhmfirm.com;pardis@rhmfirm.com;russ@rhmfirm.
          com;david@rhmfirm.com;sloan@rhmfirm.com;boshra@rhmfirm.com;rosario@rhmfirm.com
 14       Teddy M Kapur tkapur@pszjlaw.com, mdj@pszjlaw.com
          Peter A Kim peter@pkimlaw.com, peterandrewkim@yahoo.com
 15       Christopher J Langley chris@slclawoffice.com,
          omar@slclawoffice.com;langleycr75251@notify.bestcase.com
 16       Benjamin R Levinson ben@benlevinsonlaw.com, courtney@benlevinsonlaw.com
          Eric A Mitnick MitnickLaw@aol.com, mitnicklaw@gmail.com
 17       Giovanni Orantes go@gobklaw.com, gorantes@orantes-
          law.com,cmh@gobklaw.com,gobklaw@gmail.com,go@ecf.inforuptcy.com;orantesgr89122@notify.best
 18       case.com
          Donald W Reid don@donreidlaw.com, ecf@donreidlaw.com
 19       Matthew D. Resnik matt@rhmfirm.com,
          roksana@rhmfirm.com;rosario@rhmfirm.com;susie@rhmfirm.com;max@rhmfirm.com;priscilla@rhmfir
 20       m.com;pardis@rhmfirm.com;russ@rhmfirm.com;rebeca@rhmfirm.com;david@rhmfirm.com;sloan@rh
          mfirm.com
 21       Peter J Ryan ryan@floresryan.com, pryancfi@gmail.com
          Allan D Sarver ADS@asarverlaw.com
 22       David Samuel Shevitz david@shevitzlawfirm.com,
          shevitzlawfirm@ecf.courtdrive.com;r48785@notify.bestcase.com;Jose@shevitzlawfirm.com
          United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 23
          Hatty K Yip hatty.yip@usdoj.gov,
          hatty.k.yip@usdoj.gov;kelly.l.morrison@usdoj.gov;eryk.r.escobar@usdoj.gov
 24                                                   Service information continued on attached page
 25   2. SERVED BY UNITED STATES MAIL:
      On (date) April 19, 2022, I served the following persons and/or entities at the last known addresses in this
 26   bankruptcy case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope
      in the United States mail, first class, postage prepaid, and addressed as follows: Listing the judge here
 27   constitutes a declaration that mailing to the judge will be completed no later than 24 hours after the
      document is filed.
 28
      Honorable Ernest M. Robles

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      Edward R. Roybal Federal Building and Courthouse
  1   255 E. Temple Street, Suite 1560 / Courtroom 1568
      Los Angeles, CA 90012
  2
                                                         Service information continued on attached page
  3
      SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL:
  4   (state the method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      (date) April 19, 2022, I served the following persons and/or entities by personal delivery, overnight mail
  5   service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows: Listing the judge here constitutes a declaration that personal delivery on, or overnight
  6   mail to, the judge will be completed no later than 24 hours after the document is filed.

  7
                                                         Service information continued on attached page
  8
      I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
  9
        April 19, 2022           John Martinez                               /s/John Martinez
 10     Date                     Printed Name                                Signature

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